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 1   Eric K. Fogderude, #070860
     FLETCHER & FOGDERUDE, INC.
 2   A Professional Corporation
     5412 North Palm Avenue, Suite 101
 3   Fresno, California 93704
     Telephone:(559) 431-9710
 4   Facsimile: (559) 431-4108
     E-mail: efogderude1@yahoo.com
 5
     Attorney for Defendant KEVIN EUGENE SPENCER, JR.
 6
 7
 8                         IN THE UNITED STATES DISTRICT COURT FOR THE
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )               CASE NO. 12 CR 00038- AWI
                                   )
12             Plaintiff,          )               STIPULATION AND ORDER TO
                                   )               MODIFY ORDER SETTING
13   vs.                           )               CONDITIONS OF RELEASE
                                   )
14                                 )
     KEVIN EUGENE SPENCER, JE.     )
15                                 )
               Defendants.         )
16   ______________________________)
17
18           Defendant, KEVIN EUGENE SPENCER JR., by and through his
19   attorney of record Eric K. Fogderude, and the United States of
20   America, by that through its attorney of record Karen Escobar
21   hereby stipulate that the Order Setting Conditions of Release for
22   Kevin Eugene Spencer, Jr., ordered by the Honorable Carolyn K.
23   Delany, U.S. Magistrate Judge of February 6, 2012, be modified to
24   add a condition to allow Kevin Eugene Spencer, Jr. to participate
25   in mental health counseling and pay for costs as approved by the
26   Pretrial Services Officer. Pretrial Services Officer, Dan Stark is
27   in agreement with the proposed modification.
28   ///


     U.S. vs. Spencer                               Stipulation/ Order
     Case No. 12-00038-7
      Case 1:12-cr-00038-AWI-BAM Document 70 Filed 03/26/12 Page 2 of 2


 1           All other conditions of release previously ordered shall
 2   remain in full force and effect.
 3           Good cause exists for granting this modification.
 4
 5   DATED: March 21, 2012                    FLETCHER & FOGDERUDE, Inc.
 6
                                              /s/ Eric K. Fogderude
 7                                            ERIC K. FOGDERUDE
                                              Attorney for Defendant,
 8                                            KEVIN EUGENE SPENCER, JR.
 9
10   Dated: March              , 2012         McGREGOR W. SCOTT
                                              United States Attorney
11
                                              /s/ Karen Escobar
12
                                              KAREN ESCOBAR
13                                            Assistant US Attorney
14
15                                             ORDER
16           GOOD CAUSE APPEARING, the previous Order Setting Conditions
17   of Release is modified to allow Defendant KEVIN EUGENE SPENCER,
18   JR. to participate in mental health counseling and pay for costs
19   as approved by Pretrial Services Officer.                   All other terms and
20   conditions of release previously entered shall remain in full
21   force and effect.
22
23   IT IS SO ORDERED.
24
     Dated:                March 26, 2012
25   0m8i78                                 CHIEF UNITED STATES DISTRICT JUDGE
26
27
28


     U.S. vs. Spencer                                  Stipulation/ Order
     Case No. 12-00038-7                         2
